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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JERALD LENTINI, et al.,                 *
                                        *
       Plaintiffs,                      *
                                        *
       v.                               *
                                        *
DEPARTMENT OF GOVERNMENT                *
EFFICIENCY                              *
and                                     *
OFFICE OF MANAGEMENT AND                *
BUDGET                                  *
and                                     *
OFFICE OF PERSONNEL                     *            Civil Action No. 1:25-cv-00166 (JMC)
MANAGEMENT                              *
and                                     *
EXECUTIVE OFFICE OF THE                 *
PRESIDENT                               *
and                                     *
ELON MUSK                               *
and                                     *
RUSSELL VOUGHT                          *
and                                     *
CHARLES EZELL, in his official capacity *
as Acting Director of the Office of     *
Personnel Management,                   *
and                                     *
DONALD TRUMP,                           *
                                        *
       Defendants.                      *
                                        *
*      *       *       *      *     *   *            *       *      *       *        *      *

                              FIRST AMENDED COMPLAINT

       Plaintiffs Jerald Lentini, Joshua Erlich, and National Security Counselors, Inc., bring this

action against Defendants pursuant to the Federal Advisory Committee Act (“FACA”), 5 U.S.C.

app. 2 §§ 1-16, the Administrative Procedure Act (“APA”), 5 U.S.C. § 701, et seq., the

Mandamus Act, 28 U.S.C. § 1361, the Federal Declaratory Judgment Act, 28 U.S.C. § 2201, and

the All Writs Act, 28 U.S.C. § 1651. Plaintiffs seek mandamus relief compelling Defendants to
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comply with the nondiscretionary requirements of FACA, a declaration that Defendants have

violated FACA, and other declaratory and injunctive relief which would have the effect of

prohibiting Defendant Department of Government Efficiency (“DOGE”) from operating

further—and prohibit Defendants Office of Management and Budget, Office of Personnel

Management, and Executive Office of the President from interacting with DOGE—until DOGE

has complied with FACA.

                                         JURISDICTION

       1.      This Court has both subject matter jurisdiction over this action and personal

jurisdiction over Defendants pursuant to 5 U.S.C. § 704 and 28 U.S.C. §§ 1331, 1361.

                                              VENUE

       2.      Venue is appropriate under 28 U.S.C. § 1391.

                                             PARTIES

       3.      Plaintiff Jerald Lentini (“Lentini”) is a U.S. citizen and a resident of the state of

Connecticut.

       4.      Plaintiff Joshua Erlich (“Erlich”) is a U.S. citizen and a resident of the

Commonwealth of Virginia.

       5.      Plaintiff National Security Counselors, Inc. (“NSC”) is a non-profit public interest

law firm incorporated in 2010 in the Commonwealth of Virginia as a tax-exempt charitable

organization. Since 2009, NSC has represented federal employees (including national security

employees) in administrative and litigation matters, as well as engaging in litigation and public

advocacy related to national security, accountability, and transparency.

       6.      Lentini, Erlich, and NSC have a direct interest in the integrity, balance, and

legitimacy of DOGE, and in preventing the proposal or enactment of any policies that would


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adversely affect federal employees (including national security employees), unions, government

accountability, or transparency.

        7.      DOGE is an advisory committee established by Vivek Ramaswamy

(“Ramaswamy”) and Defendants Elon Musk (“Musk”) and President-Elect Donald Trump on 12

November 2024 and subsequently and continuingly utilized by Defendants Office of

Management and Budget (“OMB”), Office of Personnel Management (“OPM”), and Executive

Office of the President (“EOP”) beginning at 12:00 PM on 20 January 2025. Upon information

and belief, DOGE—as referred to herein—is separate and distinct from the United States DOGE

Service (“USDS”), which President Donald Trump established as a temporary agency within the

Executive Office of the President on 20 January 2025, to be headed by the United States DOGE

Administrator. The degree of overlap between DOGE and USDS is unclear, but, upon

information and belief, it is not total.

        8.      Defendant OMB is a federal agency which utilizes DOGE. DOGE is subject to

oversight by OMB employees, who exercise decisionmaking authority over matters related to

DOGE’s work.

        9.      Defendant OPM is a federal agency which utilizes DOGE. DOGE is subject to

oversight by OPM employees, who exercise decisionmaking authority over matters related to

DOGE’s work.

        10.     Defendant EOP is a Federal Government office which utilizes DOGE. DOGE is

subject to oversight by EOP employees, who exercise decisionmaking authority over matters

related to DOGE’s work.

        11.     Defendant Musk was Co-Chair of DOGE on 19 January 2025. Upon information

and belief, he is still in charge of DOGE. Upon information and belief, he is not the United


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States DOGE Administrator. He is being sued in his official capacity as the person in charge of

DOGE only.

       12.       Defendant Russell Vought (“Vought”) is the Director of OMB. He exercises

decisionmaking authority over matters related to DOGE’s work. He is being sued in his official

capacity only.

       13.       Defendant Charles Ezell (“Ezell”) is, as of this writing, the Acting Director of

OPM. He exercises decisionmaking authority over matters related to DOGE’s work. He is being

sued in his official capacity only.

       14.       Defendant Trump is the President of the United States. As head of the Executive

Office of the President and the Executive Branch, Trump exercises decisionmaking authority

over matters related to DOGE’s work. He is being sued in his official capacity only.

                                          BACKGROUND

                  PART I: STATUTORY AND REGULATORY FRAMEWORK

       15.       FACA was intended to address congressional concerns with the growing number

and use of advisory committees. Congress found, among other things, that committees “should

be established only when they are determined to be essential” and that “Congress and the public”

should be kept abreast of their activities. “FACA’s principal purpose was to establish procedures

aimed at enhancing public accountability of federal advisory committees.”

       16.       FACA applies to “any committee, board, commission, council, conference, panel,

task force, or other similar group, or any subcommittee or other subgroup thereof . . . established

or utilized by one or more agencies . . . in the interest of obtaining advice or recommendations

for the President or one or more agencies or officers of the Federal Government,” denominating

such groups as “advisory committees.”


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       17.     Only those committees which are “composed wholly of full-time, or permanent

part-time, officers or employees of the Federal Government” or “created by the National

Academy of Sciences or the National Academy of Public Administration” fall outside the

definition of “advisory committee” under the Act.

       18.     All of the provisions of FACA apply to advisory committees except when an “Act

of Congress establishing any such advisory committee specifically provides otherwise.”

       19.     FACA requires “the membership of the advisory committee to be fairly balanced

in terms of the points of view represented and the functions to be performed by the advisory

committee” and “that the advice and recommendations of the advisory committee will not be

inappropriately influenced by the appointing authority or by any special interest, but will instead

be the result of the advisory committee’s independent judgment.”

       20.     FACA’s implementing regulations, promulgated by the General Services

Administration (“GSA”), require each advisory committee to have a plan to attain fairly balanced

membership. The plan must “ensure that, in the selection of members for the advisory committee,

the agency will consider a cross-section of those directly affected, interested, and qualified, as

appropriate to the nature and functions of the advisory committee. Advisory committees requiring

technical expertise should include persons with demonstrated professional or personal

qualifications and experience relevant to the functions and tasks to be performed.”

       21.     The charter of each advisory committee must be filed by the “Committee

Management Officer designated in accordance with section 8(b) of the Act, or . . . another agency

official designated by the agency head.”

       22.     No advisory committee “shall meet or take any action until an advisory committee

charter has been filed with . . . the head of the agency to whom any advisory committee reports


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and with the standing committees of the Senate and of the House of Representatives having

legislative jurisdiction of such agency.” The advisory committee charter must also be filed with

the Library of Congress and the GSA Committee Management Secretariat.

       23.     Each advisory committee must also have a Designated Federal Officer (“DFO”)

designated by the agency head. A committee’s DFO is responsible for calling meetings of the

committee, approving the agenda for all committee meetings, attending meetings, adjourning any

meeting when they determine it to be “in the public interest,” and chairing the meeting when

directed by the agency head.

       24.     FACA demands transparency in the procedures and meetings of advisory

committees. All advisory committee meetings must be open to the public and must be timely

noticed in the Federal Register. Meetings must be noticed in the Federal Register at least fifteen

days before the meeting is to be held.

       25.     Interested members of the public must “be permitted to attend, appear before, or

file statements with any advisory committee,” subject only to “reasonable” regulations set by the

Administrator of General Services. Although portions of meetings may be closed where the

President determines that closure is provided for pursuant to 5 U.S.C. § 552b(c) (the federal

Open Meetings statute), any such determination must be made in a writing that sets forth the

reasons for the conclusion.

       26.     Each advisory committee meeting must be “held at a reasonable time and in a

manner or place reasonably accessible to the public,” and in a place sufficient to accommodate “a

reasonable number of interested members of the public.” If an advisory committee meeting is

held via teleconference, videoconference, or other electronic medium, it still must be made

accessible to the public.


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          27.   Subject to the provisions of the Freedom of Information Act, 5 U.S.C. § 552, “the

records, reports, transcripts, minutes, appendixes, working papers, drafts, studies, agenda, or other

documents which were made available to or prepared for or by each advisory committee shall be

available for public inspection and copying at a single location in the offices of the advisory

committee or the agency to which the advisory committee reports.”

          28.   FACA mandates that “[d]etailed minutes of each meeting of each advisory

committee shall be kept and shall contain a record of the persons present, a complete and accurate

description of matters discussed and conclusions reached, and copies of all reports received,

issued, or approved by the advisory committee. The accuracy of all minutes shall be certified to

by the chairman of the advisory committee.” Advisory committees must make available copies

of transcripts of advisory committee meetings to “any person” at only the “actual cost of

duplication.”

          29.   These requirements reflect FACA’s goal of ensuring that “agencies should seek to

be as inclusive as possible.”

          30.   Each of the requirements of FACA is mandatory on the officials utilizing the

advisory committee—in this case Vought, Ezell, and Trump—and on the advisory committee

itself.

                PART II: DOGE’S ESTABLISHMENT AND ADVISORY ROLE

          31.   On 19 August 2024, after a campaign event in Pennsylvania, Candidate Trump

was asked if would consider an administration position for Musk if elected. Candidate Trump

replied, “I certainly would, if he would do it, I certainly would. He’s a brilliant guy.” That

evening, Musk replied from a personal social media account, “I am willing to serve,” along with

an Artificial Intelligence-generated image of himself standing at a lectern labeled “D.O.G.E.


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Department of Government Efficiency.” This image is the earliest known use of “D.O.G.E.” or

reference to the “Department of Government Efficiency.” The DOGE acronym is a tongue-in-

cheek reference to Dogecoin, a cryptocurrency in which Musk has personally invested and which

he regularly promoted on social media.

       32.     On 12 November 2024, following his election victory, President-Elect Trump

announced in a statement from his transition team, published on social media, that he intended to

appoint Musk and former presidential candidate Vivek Ramaswamy to “lead the Department of

Government Efficiency (‘DOGE’),” which he described as a new entity that would “provide

advice and guidance from outside of Government” and would “partner with the White House and

Office of Management & Budget to drive large scale structural reform, and create an

entrepreneurial approach to Government never seen before.” He further stated that he “look[ed]

forward to Elon and Vivek making changes to the Federal Bureaucracy,” and set a termination

date of 4 July 2026 for this new advisory committee.

       33.     On 14 November 2024, the @DOGE account posted a call on x.com for

individuals to apply for membership in DOGE by sending a direct message to that account.

       34.     On 17 November 2024, Ramaswamy appeared on the Fox Business Channel show

Sunday Morning Futures and outlined the agenda for DOGE:

       First is, we want to go right in through executive action, to do the failures of the
       Executive Branch that need to be addressed. Because the dirty little secret right
       now, Maria, is the people we elect to run the Government, they’re not the ones who
       actually run the Government. It’s the unelected bureaucrats in the administrative
       state. That was created through executive action; it’s going to be fixed through
       executive action . . . . We’re not going to be cutting ribbons, we’re going to be
       cutting costs. So [our] recommendations are going to be on a real-time basis . . . .
       Part of this is exposing for the public the extent of that rot and waste, but then to
       take steps, first, through executive action, and then laying the groundwork for
       broader change through legislation as well . . . . Historically, it’s been the view of
       many scholars to say that those [Government employees] cannot even be fired. Now
       we take a different view with the environment the Supreme Court has given us in

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       recent years, and we’re going to use that in a pretty extensive way, Maria, to move
       quickly.

       35.     On 20 November 2024, Musk and Ramaswamy authored an opinion editorial in

the Wall Street Journal in which they stated that “President Trump has asked the two of us to

lead a newly formed Department of Government Efficiency, or DOGE, to cut the Federal

Government down to size.”

       36.     Notwithstanding their claim that DOGE would be “[u]nlike government

commissions or advisory committees”—demonstrating that they did not intend for DOGE to be

governed by FACA—Musk and Ramaswamy further stated, “This team will work in the new

administration closely with the White House Office of Management and Budget.”

       37.     Musk and Ramaswamy added, “DOGE will work with legal experts embedded in

government agencies, aided by advanced technology, to apply [recent Supreme Court] rulings to

federal regulations enacted by such agencies. DOGE will present this list of regulations to

President Trump, who can, by executive action, immediately pause the enforcement of those

regulations and initiate the process for review and rescission.”

       38.     Most relevant for this litigation, Musk and Ramaswamy then stated their intention

to, through DOGE, effect “mass head-count reductions across the federal bureaucracy” through

executive action:

       DOGE intends to work with embedded appointees in agencies to identify the
       minimum number of employees required at an agency for it to perform its
       constitutionally permissible and statutorily mandated functions. The number of
       federal employees to cut should be at least proportionate to the number of federal
       regulations that are nullified: Not only are fewer employees required to enforce
       fewer regulations, but the agency would produce fewer regulations once its scope
       of authority is properly limited. Employees whose positions are eliminated deserve
       to be treated with respect, and DOGE’s goal is to help support their transition into
       the private sector. The president can use existing laws to give them incentives for
       early retirement and to make voluntary severance payments to facilitate a graceful
       exit.

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       Conventional wisdom holds that statutory civil-service protections stop the
       president or even his political appointees from firing federal workers. The purpose
       of these protections is to protect employees from political retaliation. But the statute
       allows for “reductions in force” that don’t target specific employees. The statute
       further empowers the president to “prescribe rules governing the competitive
       service.” That power is broad. Previous presidents have used it to amend the civil
       service rules by executive order, and the Supreme Court has held—in Franklin v.
       Massachusetts (1992) and Collins v. Yellen (2021) that they weren’t constrained by
       the Administrative Procedures [sic] Act when they did so. With this authority, Mr.
       Trump can implement any number of “rules governing the competitive service”
       that would curtail administrative overgrowth, from large-scale firings to relocation
       of federal agencies out of the Washington area. Requiring federal employees to
       come to the office five days a week would result in a wave of voluntary terminations
       that we welcome: If federal employees don’t want to show up, American taxpayers
       shouldn’t pay them for the Covid-era privilege of staying home.

       39.    Other key political figures soon began supporting this new advisory committee.

Speaker of the House Mike Johnson brought Musk and Ramaswamy to address a gathering of

representatives at the Capitol on 5 December 2024, including members of the newly formed

“DOGE Caucus,” about their plans, posting on social media that “@HouseGOP is excited to

work with @ElonMusk, @VivekGRamaswamy and @DOGE for a leaner, more efficient

government.” Musk and Ramaswamy held additional meetings on 5 December, including with

Senator Marsha Blackburn, who posted on her social media account that they had discussed

“how @DOGE will get its arms around our bloated federal government.”

       40.    Outside of Government, venture capitalists affiliated with the tech industry were

brought into DOGE to assist with ramping up operations. In November 2024, Marc Andreessen

(“Andreessen”), a venture capitalist and major donor to the Trump campaign, was brought on

board to identify possible members.

       41.    On 4 December 2024, President-Elect Trump posted on social media that he had

personally “asked William Joseph McGinley to serve as Counsel to the Department of

Government Efficiency (“DOGE”), something he is very passionate about.” Trump added, “Bill

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will work with Elon Musk, Vivek Ramaswamy, and their team of incredible pioneers at DOGE,

to rebuild a U.S. Government that truly serves the People. . . . He will partner with the White

House and the Office of Management and Budget to provide advice and guidance to end the

bloated Federal Bureaucracy.”

       42.     Incoming Executive Branch personnel have also been keen to highlight their

ideological affinity with DOGE. On 9 December 2024, after being announced by President-Elect

Trump as his choice to serve as OMB General Counsel, Mark Paoletta posted on social media

about how excited he was to help implement Trump’s agenda, “including working w/ @DOGE

to cut wasteful government spending!” Ramaswamy reposted Paoletta’s comments an hour later,

adding, “@MarkPaoletta will be a great partner to @DOGE within OMB.”

       43.     On 14 January 2025, Andreessen sat for an interview with a podcaster from the

Hoover Institution, a right-wing think tank at Stanford University. In this interview, during a

discussion of areas of federal employment practices—like telework and collective bargaining

agreements—in which DOGE would be making recommendations, Andreessen acknowledged

the advisory structure of DOGE:

       Andreessen: [D]oes the President of the United States have the legal authority to
       order people back to work? Does it count to be an employee of the Federal
       Government if you’re not in the office? So there’s a ton of threads like that that
       they’re going to plan to . . . pull.

       Interviewer: All this is just beautiful, really, truly beautiful. However, DOGE is an
       advisory commission.

       Andreessen: Sure.

       Interviewer: I believe this is the way the President has set it up, as an advisory
       commission. It has its sunset date.

       Andreessen: Yes.

       Interviewer: It ends on July, or goes out of business on July 4, 2026.

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       Andreessen: That’s right.

After a brief tangential discussion regarding impoundment, Andreessen concluded:

       Vivek and Elon are running it, and . . . it itself is not getting set up as a permanent
       agency. It doesn’t have the authority to execute on everything that we’re talking
       about, but the White House does, the Executive Branch does, and the President
       does. And it will be . . . , as it should be, it will be a decision of the President on
       what he wants to do with these recommendations. Um, you know, the people being
       staffed into the positions, . . . so the new head of OMB, is very, you know, has
       talked about being very aligned with this, The new head of OPM is actually a
       partner of ours who’s going in there, he’s very aligned with this.

       44.     On 10 January 2025, the Washington Post reported, citing “people familiar with

the matter,” “In recent days, aides with the nongovernmental ‘Department of Government

Efficiency’ tied to President-elect Donald Trump’s transition team have spoken with staffers at

more than a dozen federal agencies . . . . The agencies include the Treasury Department, the

Internal Revenue Service and the departments of Homeland Security, Veterans Affairs, and

Health and Human Services.”

       45.     On 12 January 2025, the New York Times reported, citing “people who have

insight into DOGE’s operations,” “The goal is for most major agencies to eventually have two

DOGE representatives.” This report added that “the minority of people not detailed to agencies

would be housed within the Executive Office of the President at the U.S. Digital Service” and

that “DOGE is also expected to have an office in the Office of Management and Budget.”

       46.     This report also noted, “People involved in the operation say that secrecy and

avoiding leaks is paramount, and much of its communication is conducted on Signal, the

encrypted messaging app.”

       47.     This claim is supported by a public blog post by Vinay Hiremath, who worked

with DOGE for four weeks in November and December:


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       After 8 calls with people who all talked fast and sounded very . . . smart, I was
       added to a number of Signal groups and immediately put to work. . . . Within 2
       minutes of talking to the final interviewer for DOGE, he asked me if I wanted to
       join. I said “yes”’. Then he said “cool” and I was in multiple Signal groups. I was
       immediately acquainted with the software, HR, and legal teams and went from 0 to
       100 taking meetings and getting shit done. This was the day before Thanksgiving.

       The next 4 weeks of my life consisted of 100s of calls recruiting the smartest people
       I’ve ever talked to, working on various projects I’m definitely not able to talk about,
       and learning how completely dysfunctional the government was.

       48.     On 13 January 2025, the New York Times reported that Musk was likely to occupy

an office in the Eisenhower Executive Office Building, part of the White House Complex.

                 PART III: DEMOGRAPHICS OF DOGE’S MEMBERSHIP

       49.     Due to DOGE’s lack of transparency, little is publicly known about its structure

or membership.

       50.     From the outset, Musk and Ramaswamy stated their intentions to only select

DOGE members who adhere to a particular philosophy, and the known members all share

similar characteristics which reflect a particular background.

       51.     The 14 November 2024 social media post from @DOGE specifically stated, “We

need super high-IQ small-government revolutionaries willing to work 80+ hours per week on

unglamorous cost-cutting.”

       52.     Musk and Ramaswamy’s 20 November 2024 opinion editorial stated, “We are

assisting the Trump transition team to identify and hire a lean team of small-government

crusaders, including some of the sharpest technical and legal minds in America.”

       53.     The 12 January 2025 New York Times report revealed, “Many of the executives

involved are expecting to do six-month voluntary stints inside the federal government before

returning to their high-paying jobs.”

       54.     This report also revealed details about the distinctly arbitrary selection process:

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       Mr. Musk’s friends have been intimately involved in choosing people who are set
       to be deployed to various agencies. Those who have conducted interviews for
       DOGE include the Silicon Valley investors Marc Andreessen, Shaun Maguire,
       Baris Akis and others who have a personal connection to Mr. Musk. Some who
       have received the Thiel Fellowship, a prestigious grant funded by Mr. Thiel given
       to those who promise to skip or drop out of college to become entrepreneurs, are
       involved with programming and operations for DOGE. Brokering an introduction
       to Mr. Musk or Mr. Ramaswamy, or their inner circles, has been a key way for
       leaders to be picked for deployment.

       55.     As revealed in the 10 January 2025 Washington Post report revealed, DOGE is

continuing to select members through an opaque and arbitrary process:

       Musk and Ramaswamy have significantly stepped up hiring for their new entity,
       with more than 50 staffers already working out of the offices of SpaceX, Musk’s
       rocket-building company, in downtown Washington, two of the people said. DOGE
       aims to have a staff of close to 100 people in place by Trump’s inauguration on Jan.
       20, they said.

       56.     Through various reports, it is possible to identify numerous individuals in addition

to Musk and Ramaswamy who have been affiliated with DOGE in some fashion.

       57.     Of these DOGE associates, a significant percentage have been senior corporate

executives or venture capitalists affiliated with the tech industry. Several were affiliated with the

previous Trump administration or the Trump campaign. Several others have a personal

relationship with Musk or Ramaswamy.

                      PART IV: DOGE’S LACK OF REPRESENTATION

       58.     Upon information and belief, not a single member of DOGE represents the

perspective of federal employees, despite the evidence that DOGE considers looking for federal

employment practices and ways to reduce the size of the federal workforce as part of its

mandate.




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       59.     Upon information and belief, not a single member of DOGE is a member of a

union or represents the perspective of unions, despite the evidence that DOGE will be evaluating

collective bargaining agreements.

       60.     Upon information and belief, not a single member of DOGE has experience

working on matters of national security or representing people who do, despite the evidence that

DOGE considers agencies in this field to be within its jurisdiction.

       61.     Upon information and belief, not a single member of DOGE has experience

advocating for greater accountability and transparency in the Federal Government, despite the

evidence that DOGE intends to keep its deliberations and activities secret.

       62.     To remedy this imbalance, Lentini and Erlich requested appointment to DOGE.

       63.     Lentini has been a lawyer for thirteen years. He holds a bachelor’s degree from

New College of Florida, a Master of Business Administration from Louisiana State University

Shreveport, and a law degree from Georgetown University.

       64.     Since graduating from law school, Lentini has worked in various capacities for a

wide array of employers, including the AFL-CIO, the Connecticut state government, and NSC.

He is a local elected official in Manchester, CT, a community of 60,000 residents.

       65.     In his application to DOGE, Lentini stated that he was applying for membership

“in the hopes that true governmental waste may be cut without sacrificing the dedicated and

competent federal workers who spend every day serving their country.” He added, “I am deeply

concerned that the D.O.G.E. may be bereft of staff—and leadership—who understand and

prioritize the considerations of the civil servants whose lives will be most directly impacted by

proposed reforms. As a proud member of AFSCME Local 2663, I hope to ensure that these




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workers’ livelihoods are not capriciously upended by those whose expertise and sympathies lie

elsewhere.”

       66.     Lentini’s application emphasized his experience working for a state government

agency “help[ing] [to] protect the rights and interests of private and public sector employees”

and his experience working for NSC—which he described as “a public interest non-profit firm

that specializes in holding federal agencies to account on matters of transparency and civil

rights”—in a case “to determine if hostile foreign actors were attempting to expose domestic

intelligence assets or if intelligence workers were engaged in prohibited activity.”

       67.     Lentini elaborated on his public service and budget bona fides: “In the past year, I

have helped cut over $2.1 million in planned spending from our municipal budget of nearly a

quarter-billion dollars, ensuring that critical services continue to be provided while protecting

taxpayers’ money,” concluding that his “practical experience in balancing the needs of effective

government and fiscal responsibility would be invaluable to an advisory body.”

       68.     If selected for DOGE, Lentini would represent the perspectives of federal

employees (including national security employees), unions, and accountability and transparency

advocates.

       69.     Erlich has been a lawyer for fourteen years. He holds a bachelor’s degree from

Louisiana State University and a law degree, master of laws (taxation) degree, and employee

benefits law certificate from Georgetown University.

       70.     Erlich is the principal attorney at The Erlich Law Office, PLLC, an employment

law firm which regularly represents federal employees, and has appeared in more than two

hundred federal cases. Erlich also regularly practices before the Equal Employment Opportunity

Commission representing federal employees in every stage of the process.


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       71.     In his application to DOGE, Erlich described his focus on civil rights,

discrimination, employment, and harassment issues and stated that he was applying for

membership because “[t]o my knowledge, DOGE does not currently have an individual who will

speak on behalf of government workers and their interests.” He added, “The ineffective and

inefficient government practices in federal sector employment law are substantial. Taxpayer

funds are regularly wasted as government counsel engages in unnecessary and wasteful litigation

practices.”

       72.     Erlich’s application further emphasized his experience working on both sides of

the issues likely to be reviewed by DOGE: “I have also represented clients with claims of

insufficient, fraudulent, or illegal government practices . . . . Finally, as someone who also

represents business in the private sector, I understand the importance of efficient work.”

       73.     If selected for DOGE, Erlich would represent the perspective of federal

employees.

       74.     As of this writing, neither Lentini nor Erlich have been contacted by DOGE in

response to their applications.

       75.     Other individuals affiliated with several prominent non-profit organizations

focused on federal employment, accountability, and transparency issues have also applied to

DOGE without success.

       76.     In light of the reports of DOGE’s efforts to select members quickly, Plaintiffs

conclude that, upon information and belief, neither Lentini nor Erlich, nor anyone similarly

situated who would represent the perspectives of federal employees (including national security

employees), unions, or accountability and transparency advocates, will be selected for DOGE.




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       77.     Section 5(b) of FACA requires that any advisory committee, including DOGE, (i)

be “fairly balanced in terms of the points of view represented and the functions to be performed

by the advisory committee,” (ii) “not be inappropriately influenced by the appointing authority,”

and (iii) “not be inappropriately influenced . . . by any special interest.”

       78.     DOGE’s stacked membership, far from being fairly balanced, reveals that only

one viewpoint is represented: that of “small-government crusaders” with backgrounds in either

the tech industry or Republican politics. This shortcoming renders DOGE’s membership

imbalanced and unfit for the function is has been directed to perform.

       79.     To have a fair balance of viewpoints and competent deliberations, there must be

representatives not only from the world of corporate management and political activists united in

a mission to cut government spending by any means necessary, but also from people who will

represent the perspectives of government employees and accountability and transparency

advocates.

       80.     Further, Vought, Ezell, and President Trump have an inappropriate degree of

influence on DOGE. This has been made clear, for example, in President-Elect Trump’s

“selection” of McGinley to be DOGE General Counsel, and in Andreessen’s statement that

Vought and President Trump’s nominee for OPM Director are “very aligned with this.” In fact,

President Trump took several official actions his first day in office which directly pertain to the

issues DOGE is supposed to be studying and which demonstrate close coordination between

DOGE and the presidential transition team

       81.     Compounding these errors, DOGE has been and will continue to be

inappropriately influenced by a variety of other special interests, such as Andreessen, who

describes himself as “an unpaid intern.” This influence reflects a “small-government”


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perspective and suggests that DOGE should reach preordained conclusions with respect to the

issues it is supposed to be studying. For example, the selection process for DOGE membership

involves personal friends of Musk and Ramaswamy who do not hold any official position within

DOGE yet play a critical role in selecting members.

       82.    Based on the statements of Musk, Ramaswamy, and President-Elect Trump,

DOGE was created with an anticipated outcome. For the purposes of this litigation, the intended

goal is clear: recommendations made by unaccountable outsiders without transparent

deliberations which will reduce the size of the federal workforce by whatever means necessary.

              PART V: DOGE AND USDS ACTIVITIES SINCE 20 JANUARY

       83.    On 20 January 2025, President Trump issued Executive Order 14,158, entitled

Establishing and Implementing the President’s “Department of Government Efficiency” (“the

Order” or “E.O. 14,158”).

       84.    The Order stated that the existing U.S. Digital Service, which was housed in

OMB, was renamed the U.S. DOGE Service and moved to the EOP. According to the Order, the

USDS Administrator—also referred to as the “Administrator of the Department of Government

Efficiency” in other presidential documents—would be the head of USDS.

       85.    The new mandate of USDS is:

       Modernizing Federal Technology and Software to Maximize Efficiency and
       Productivity. . . . The USDS Administrator shall commence a Software
       Modernization Initiative to improve the quality and efficiency of government-wide
       software, network infrastructure, and information technology (IT) systems. Among
       other things, the USDS Administrator shall work with Agency Heads to promote
       inter-operability between agency networks and systems, ensure data integrity, and
       facilitate responsible data collection and synchronization.

       86.     Since 20 January, numerous individuals claiming to be affiliated with DOGE

have entered numerous government agencies, made numerous recommendations on numerous


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topics to the leadership of those agencies and the White House, forced numerous career officials

out, and taken credit for “saving the Federal Government approx.. $1 billion/day, mostly from

stopping the hiring of people into unnecessary positions, deletion of DEI and stopping improper

payments to foreign organizations, all consistent with the President’s Executive Orders.”

Department of Government Efficiency (@DOGE), X.com (Jan. 28, 2025 7:20 PM), at

https://x.com/DOGE/status/1884396041786524032 (last accessed Feb. 12, 2025).

       87.     Stopping the hiring of people into unnecessary positions is not related to

improving the quality and efficiency of government-wide software, network infrastructure, and

information technology (IT) systems.

       88.     Deletion of DEI is not related to improving the quality and efficiency of

government-wide software, network infrastructure, and information technology (IT) systems.

       89.     Stopping improper payments to foreign organizations is not related to improving

the quality and efficiency of government-wide software, network infrastructure, and information

technology (IT) systems.

       90.     Musk consistently purports to be the head of DOGE, most recently speaking on its

behalf alongside President Trump in an Oval Office press conference on 11 February.

       91.     Musk has also publicly made numerous statements about DOGE’s activities

which are clearly based on non-public information, of which the following are a recent sample:

               •      “The @DOGE team just discovered that FEMA sent $59M LAST WEEK

                      to luxury hotels in New York City to house illegal migrants. Sending this

                      money violated the law and is in gross insubordination to the President’s

                      executive order. That money is meant for American disaster relief and

                      instead is being spent on high end hotels for illegals! A clawback demand


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                      will be made today to recoup those funds.” Elon Musk (@elonmusk),

                      X.com (Feb. 10, 2025 5:03 AM), at

                      https://x.com/elonmusk/status/1888891512303263815 (last accessed Feb.

                      12, 2025).

               •      “The @DOGE team is rapidly shutting down these illegal payments.”

                      Elon Musk (@elonmusk), X.com (Feb. 2, 2025 3:14 AM), at

                      https://x.com/elonmusk/status/1885964969335808217 (last accessed Feb.

                      12, 2025).

       92.     Making a clawback demand to recoup funds is not related to improving the

quality and efficiency of government-wide software, network infrastructure, and information

technology (IT) systems.

       93.     Rapidly shutting down illegal payments is not related to improving the quality and

efficiency of government-wide software, network infrastructure, and information technology (IT)

systems.

       94.     Musk consistently takes credit for DOGE’s activities—often referring to DOGE

in the first-person plural tense—in public statements, of which the following are a recent sample:

               •      “They are hiding massive fraud and don’t want their grift to end. This is

                      how we know we are over the target. Everything @DOGE does will be

                      published for the world to see. Let the public judge for themselves.” Elon

                      Musk (@elonmusk), X.com (Feb. 10, 2025 2:52 PM), at

                      https://x.com/elonmusk/status/1889039856631787758 (last accessed Feb.

                      12, 2025) (emphasis added).




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      •     “Thanks.” Elon Musk (@elonmusk), X.com (Feb. 9, 2025 5:49 PM), at

            https://x.com/elonmusk/status/1888721830711591419 (last accessed Feb.

            12, 2025) (replying to a post stating “Man I knew @elonmusk would be

            effective with @DOGE”).

      •     “Accurate. We just renamed US Digital Services, created by Obama, to US

            DOGE Services, with a mandate to modernize all computer systems in the

            US government. This is something that is sorely needed!” Elon Musk

            (@elonmusk), X.com (Feb. 5, 2025 10:10 AM), at

            https://x.com/elonmusk/status/1887156853315911817 (last accessed Feb.

            12, 2025) (emphasis added).

      •     “If they want to cancel @DOGE in exchange for deleting everything in

            the federal government that isn’t explicit law passed by Congress, I would

            gladly take that deal! But they would never do it. Not in a million years.”

            Elon Musk (@elonmusk), X.com (Feb. 4, 2025 1:23 PM), at

            https://x.com/elonmusk/status/1886842910416535753 (last accessed Feb.

            12, 2025) (emphasis added).

      •     “Only with public support can @DOGE succeed. The bad guys will do

            anything they can, legal or otherwise, to stop us.” Elon Musk

            (@elonmusk), X.com (Feb. 3, 2025 2:59 AM), at

            https://x.com/elonmusk/status/1886323575524601955 (last accessed Feb.

            12, 2025) (emphasis added).

      •     “DOGE is working 120 hour [sic] a week. Our bureaucratic opponents

            optimistically work 40 hours a week. That is why they are losing so fast.”


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                       Elon Musk (@elonmusk), X.com (Feb. 2, 2025 3:21 AM), at

                       https://x.com/elonmusk/status/1885966827227861179 (last accessed Feb.

                       12, 2025) (emphasis added).

         95.   Despite purporting to be the head of DOGE, taking credit for its activities, and

making statements based on non-public information available to DOGE, Musk is not the USDS

Administrator. “A White House record seen by Business Insider says his job is simply ‘unlisted.’

Though Musk has a White House access badge as of January 20 and has been widely described

as the leader of DOGE, the White House has not officially confirmed Musk’s title.” Jack

Newsham, Elon Musk’s newest job title is literally “unlisted” Bus. Insider (Feb. 6, 2025),

available at https://www.businessinsider.com/elon-musks-job-title-unlisted-2025-2 (last

accessed Feb. 12, 2025).

         96.   A 6 February Congressional Research Service report stated, “CRS is not aware

that a USDS administrator has been named publicly.”

         97.   All of these allegations are supported by the public statement that Sen. James

Lankford—a “founding member of the Congressional DOGE Caucus”—made on 21 January

2025, a day after President Trump established the U.S. DOGE Service in Executive Order

14,158: “DOGE is not a real department. It’s an idea. It’s an internal conversation within the

White House. It’s Elon Musk actually trying to be able to drive a messaging piece to say, if we

are going to be better with our tax dollars, to literally waste less and then spend less as well, then

let’s start this idea. The Legislative Branch has got a thing, Executive Branch has got a thing, go

do your thing.” Elon Musk’s DOGE faces lawsuit minutes after inauguration Fox News (Jan. 21,

2025), available at https://www.foxnews.com/video/6367443500112 (last accessed Feb. 13,

2025).


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         98.    A group of people having “an internal conversation within the White House . . .

trying to be able to drive a messaging piece” led by a person who is not in charge of the relevant

government office is an advisory committee subject to the requirements of FACA.

                         PART VI: OTHER FACA ISSUES FACING DOGE

         99.    Upon information and belief, a DFO has not been appointed for DOGE as

required by FACA and there are no plans to do so.

         100.   Upon information and belief, DOGE’s staff has not been made public and there

are no plans to do so.

         101.   Upon information and belief, no Defendant has filed an advisory committee

charter with any federal agency, any Congressional committee, the Library of Congress, or the

GSA Committee Management Secretariat and there are no plans to do so.

         102.   Upon information and belief, DOGE has been operating and holding meetings

without a charter and will continue to do so.

                                      CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION

      (FACA/MANDAMUS – LACK OF FAIR BALANCE AND INAPPROPRIATE

                                           INFLUENCE)

         103.   Plaintiffs repeat and reallege the allegations contained in all paragraphs set forth

above.

         104.   Upon information and belief, DOGE—the group established by Musk,

Ramaswamy, and Trump in November 2024—continues to operate outside of USDS and has not

been fully transformed into USDS.




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       105.     Musk continues to speak for DOGE and take credit for DOGE’s activities, while

not being the USDS Administrator.

       106.     DOGE continues to take actions which are completely unrelated to the USDS

mandate set forth in E.O. 14,158.

       107.     Accordingly, DOGE is continuing to act as an advisory committee separate and

distinct from USDS.

       108.     DOGE was established to “provide advice and guidance from outside of

Government” and “partner with the White House and Office of Management & Budget to drive

large scale structural reform, and create an entrepreneurial approach to Government never seen

before.”

       109.     Because DOGE is a “committee . . . established or utilized by one or more

agencies, in the interest of obtaining advice or recommendations for the President or one or more

agencies of the Federal Government,” it is an “advisory committee” as defined in FACA.

       110.     DOGE does not satisfy the statutory criteria for exemption from FACA’s

requirements.

       111.     Because DOGE is not exempted from FACA’s requirements, it must be “fairly

balanced in terms of the points of view represented and the functions to be performed.”

       112.     As set forth above, the known associates of DOGE are not fairly balanced in

terms of their backgrounds and points of view on the issues being studied and addressed by

DOGE.

       113.     Further, to comply with FACA, committees have a nondiscretionary duty to “not

be inappropriately influenced by the appointing authority or by any special interest.”




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         114.   Defendants Vought, Ezell, and President Trump, as well as various special

interests, have “inappropriately influenced” DOGE.

         115.   Defendants’ violations of FACA have injured Plaintiffs by limiting Plaintiffs’

ability and right to have a representative voice on DOGE on issues with which Plaintiffs are

engaged.

         116.   These injuries to Plaintiffs are likely to continue as long as Defendants continue

to operate and direct the operation of DOGE out of compliance with the law.

                                 SECOND CAUSE OF ACTION

                   (FACA/MANDAMUS – LACK OF CHARTER FILING)

         117.   Plaintiffs repeat and reallege the allegations contained in paragraphs 1-88 set forth

above.

         118.   FACA states that “[n]o advisory committee shall meet or take any action until an

advisory committee charter has been filed with . . . the head of the agency to whom any advisory

committee reports and with the standing committees of the Senate and of the House of

Representatives having legislative jurisdiction of such agency.”

         119.   DOGE has a nondiscretionary duty to file an advisory committee charter with the

relevant federal agencies and Congressional committees prior to “meet[ing] or tak[ing] any

action.”

         120.   DOGE has not filed an advisory committee charter with the relevant federal

agencies and Congressional committees.

         121.   FACA’s implementing regulations further require that an advisory committee

charter be filed with the Library of Congress and the GSA Committee Management Secretariat.




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          122.   DOGE has not filed an advisory committee charter with the Library of Congress

or the GSA Committee Management Secretariat.

          123.   DOGE actively meets and takes actions.

          124.   Defendants’ violations of FACA have injured Plaintiffs by limiting Plaintiffs’

ability and right to intelligently advocate with or against DOGE on issues with which Plaintiffs

are engaged.

          125.   These injuries to Plaintiffs are likely to continue as long as Defendants continue

to operate and direct the operation of DOGE out of compliance with the law.

                                   THIRD CAUSE OF ACTION

             (FACA/MANDAMUS – LACK OF PUBLIC NOTICE AND ACCESS)

          126.   Plaintiffs repeat and reallege the allegations contained in paragraphs 1-88 set forth

above.

          127.   FACA requires that “[e]ach advisory committee meeting shall be open to the

public.”

          128.   DOGE thus has a nondiscretionary duty to ensure its meetings are open to the

public.

          129.   Because DOGE has conducted hearings in person, remotely, and on the encrypted

messaging app Signal without providing the public with the opportunity to participate or listen

in, its hearings have not been “open to the public.”

          130.   FACA further requires that “timely notice of each such meeting shall be published

in the Federal Register, and the Administrator shall prescribe regulations to provide for other

types of public notice.”




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       131.    In order to provide “timely notice,” DOGE’s notice must be published in the

Federal Registe at least 15 days prior to the hearing, and must include: (1) the name of the

advisory committee; (2) the time, date, and place of the hearing; (3) a summary of the agenda

and topics to be discussed; (4) a statement of whether any parts of the meeting will be closed,

along with an explanation for such closure; and (5) contact information for a designated officer

for those who wish to learn more information.

       132.    DOGE has a nondiscretionary duty to public notice of its meetings and hearings

in the Federal Register at least fifteen days prior to any such meeting or hearing.

       133.    Defendants have failed to provide timely notice of any of DOGE’s hearings.

       134.    Defendants have failed to otherwise provide public notice of any kind for any of

the hearings conducted to date.

       135.    FACA also requires that “the records, reports, transcripts, minutes, appendixes,

working papers, drafts, studies, agenda, or other documents prepared for or by [DOGE]” are

“available for public inspection and copying at a single location in the offices of the advisory

committee or the agency to which the advisory committee reports.”

       136.    Defendants thus have a nondiscretionary duty to make all documents “available to

or prepared for or by” DOGE, including meeting agendas, witness bios, hearing transcripts, and

record evidence, available to the public.

       137.    Defendants have failed to make all necessary documents publicly available.

       138.    Defendants’ violations of FACA have injured Plaintiffs by limiting Plaintiffs’

ability and right to intelligently advocate with or against DOGE on issues with which Plaintiffs

are engaged.




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         139.    These injuries to Plaintiffs are likely to continue as long as Defendants continue

to operate and direct the operation of DOGE out of compliance with the law.

                                 FOURTH CAUSE OF ACTION

                (FACA/MANDAMUS – NO DESIGNATED FEDERAL OFFICER)

         140.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1-88 set forth

above.

         141.    FACA requires that Vought, Ezell, or President Trump, as head of the

Government agency or office to which DOGE reports, “designate a Federal officer . . . to be the

[Designated Federal Officer]” for DOGE.

         142.    FACA forbids “any meeting in the absence of [a Designated Federal Officer].”

         143.    FACA orders that “[a]dvisory committees shall not hold any meetings except at

the call of, or with the advance approval of, a [Designated Federal Officer].”

         144.    DOGE has no Designated Federal Officer, yet it meets and intends to meet again.

         145.    Defendants’ violations of FACA have injured Plaintiffs by limiting Plaintiffs’

ability and right to intelligently advocate with or against DOGE on issues with which Plaintiffs

are engaged.

         146.    These injuries to Plaintiffs are likely to continue as long as Defendants continue

to operate and direct the operation of DOGE out of compliance with the law.

                                   FIFTH CAUSE OF ACTION

                                (FACA/APA – VARIOUS ISSUES)

         147.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1-88 set forth

above.




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       148.    FACA requires that Defendants Vought, Ezell, and/or President Trump ensure

that the membership of DOGE is “fairly balanced in terms of the points of view represented and

the functions to be performed by the advisory committee.”

       149.    As set forth above, the known associates of DOGE are not fairly balanced in

terms of their backgrounds and points of view on the issues being studied and addressed by

DOGE

       150.    FACA requires that Defendants Vought, Ezell, and/or President Trump, as head

of the Government agency or office to which DOGE reports, “designate a Federal officer . . . to

be the [Designated Federal Officer]” for DOGE.

       151.    Defendants Vought, Ezell, and President Trump have not appointed a DFO for

DOGE.

       152.    FACA requires that “records, reports, transcripts, minutes, appendixes, working

papers, drafts, studies, agenda, or other documents which were made available to or prepared for

or by each advisory committee shall be available for public inspection and copying at . . . the

agency to which the advisory committee reports until the advisory committee ceases to exist.”

       153.    Defendants Vought, Ezell, and President Trump are (a) acting without observance

of procedures required by law; and (b) acting in a manner that is arbitrary, capricious, and

contrary to law, in violation of the APA.

       154.    Defendants’ violations of FACA and the APA have injured Plaintiffs by limiting

Plaintiffs’ ability and right to have a representative voice on DOGE on issues with which

Plaintiffs are engaged.

       155.    These injuries to Plaintiffs are likely to continue as long as Defendants continue

to operate and direct the operation of DOGE out of compliance with the law.


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           156.   Each of these failures to comply with FACA’s requirements constitutes final

agency action under the APA.

                                    SIXTH CAUSE OF ACTION

                                (FACA/DJA – FACA VIOLATIONS)

           157.   Plaintiffs repeat and reallege the allegations contained in paragraphs 1-88 set forth

above.

           158.   Where statutory duties are violated, courts may also act pursuant to the

Declaratory Judgment Act, including as an alternative or in addition to granting mandamus

relief.

           159.   All DOGE hearings must be noticed in advance in the Federal Register; by

conducting and continuing to conduct hearings without notice, Defendants have violated and will

continue to violate § 10(a)(2) of FACA.

           160.   All meetings of DOGE, including those conducted through an electronic medium,

must be open to the public; by failing to grant public access to its hearings, Defendants have

violated and will continue to violate §§ 10(a)(1), (3) of FACA.

           161.   By not ensuring that the “membership of the advisory committee . . . be fairly

balanced in terms of the points of view represented and the functions to be performed by the

advisory committee,” Defendants have violated and will continue to violate § 5(b)(2) of FACA.

           162.   By failing to make any “appropriate provisions to assure that the advice and

recommendations of the advisory committee will not be inappropriately influenced by the

appointing authority or by any special interest, but will instead be the result of the advisory

committee’s independent judgment,” Defendants have violated and will continue to violate §

5(b)(3) of FACA.


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       163.    By undertaking hearings prior to filing an advisory committee charter, Defendants

have violated and will continue to violate § 9(c) of FACA.

       164.    By failing to make available all “the records, reports, transcripts, minutes,

appendixes, working papers, drafts, studies, agenda, or other documents which were made

available to or prepared for or by” DOGE, Defendants have violated and will continue to violate

§ 10(b) of FACA.

       165.    By failing to make transcripts of each DOGE hearing available, Defendants have

violated and will continue to violate § 11 of FACA.

       166.    Plaintiffs are entitled to a declaration under 28 U.S.C. § 2201 that the foregoing

conduct violates FACA.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully pray that this Court enter judgment in its favor and

against Defendants, and:

       (1)     Declare that Defendant Department of Government Efficiency is separate and

distinct from the U.S. DOGE Service and is an advisory committee subject to the requirements

of the Federal Advisory Committee Act;

       (2)     Declare that Defendants have violated FACA by (1) failing to ensure that

DOGE’s membership is fairly balanced and without undue influence; (2) failing to file an

advisory committee charter with all required entities; (3) failing to appoint necessary officers for

oversight; (4) failing to provide members of the public with timely notice of DOGE’s hearings;

and (5) failing to make agendas, minutes, transcripts, witness bios, and other record evidence

available to the public;




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       (3)     Declare that DOGE is not properly constituted and any report or recommendation

does not reflect the views of a lawfully constituted advisory committee;

       (4)     Permanently enjoin Defendants DOGE and Musk, and all of DOGE’s subunits,

from holding further meetings, sessions, or hearings, or conducting any official business

whatsoever on behalf of DOGE, whether remotely or in person;

       (5)     Permanently enjoin Defendants from submitting, accepting, publishing,

employing, or relying upon any report or recommendations produced by DOGE for any official

purpose whatsoever, directly or indirectly;

       (6)     Award reasonable costs and attorneys’ fees as provided in 28 U.S.C. § 2412(d) or

any other applicable law;

       (7)     Expedite this action in every way pursuant to 28 U.S.C. § 1657(a); and

       (8)     Grant such other relief as the Court may deem just and proper.

Date: February 13, 2025
                                                 Respectfully submitted,


                                                 /s/ Kelly B. McClanahan
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